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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                        ABILENE DIVISION
A.A.R.P., on his own behalf and on           §
behalf of all others similarly situated,     §
et al.,                                      §
                                             §
              Petitioners-Plaintiffs,        §
                                             §        No. 1:25-CV-059-H
                      v.                     §
                                             §
DONALD J. TRUMP, et al.                      §
                                             §
              Respondents-Defendants.        §


                           DECLARATION OF YOUSUF KHAN
       In accordance with the provisions of Section 1746 of Title 28, United States Code,

I, the undersigned, Yousuf Khan, do hereby make the following declaration, under penalty

of perjury in the above-styled and numbered cause:

1.   I, Yousuf Khan, am presently employed by the United States Department of

     Homeland Security (“DHS” or the “Department”), Immigration and Customs

     Enforcement (“ICE”), in the position of Assistant Field Office Director.

2.   I am familiar with the cases of A.A.R.P., W.M.M., and F.G.M.

3.   A.A.R.P.                    has been detained in ICE custody since March 26,

     2025. He is currently at the Bluebonnet Detention Center in Anson, Texas.

4.   A.A.R.P. has not been served notification that he is subject to removal pursuant

     to the Alien Enemies Act (“AEA”).

5.   W.M.M.                      has been detained in ICE custody since March 17,

     2025. He is currently at the Bluebonnet Detention Center in Anson, Texas.
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6.   W.M.M. has not been served notification that he is subject to removal pursuant

     to the AEA.

7.   F.G.M.                      has been detained in ICE custody since March 31,

     2025. He is currently at the Bluebonnet Detention Center in Anson, Texas.

8.   F.G.M. has not been served notification that he is subject to removal pursuant to

     the AEA.

9.   I am aware that, in the case of Trump, et al. v. J.G.G., et al., --- S.Ct. ----, 2025 WL

     1024097 (U.S. Apr. 7, 2025), the Supreme Court of the United States stated that

     “detainees [held for removal under the Alien Enemies Act (AEA)] are entitled to notice

     and the opportunity to be heard.”

10. ICE has adopted processes for individuals detained under the AEA for removal.

11. These processes require that each individual be provided notice of the proceedings, in a

     language the alien understands. They allow time and opportunity to file a habeas

     petition.

12. ICE is aware that A.A.R.P., W.M.M., and F.G.M. are plaintiffs in the instant

     habeas petition.

13. ICE does not intend to remove A.A.R.P., W.M.M., or F.G.M. under the AEA

     while their habeas petitions are pending.
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Sworn to and subscribed this 25th day of April, 2025.




                                         _______ _______________________
                                         Yousuf Khan
                                         Assistant Field Office Director
                                         Department of Homeland Security
                                         Immigration and Customs Enforcement
